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IN Tm: UNITED sTATEs ms'riucr couRT '
FoR THE EAsTERN instch or NORTH cARoLlNA

JAHEB R. GRAHA-M :
m Doq) Rln Chllrch Ro¢d
ch R\\, North Carollna 28525
Phllti!!,
vs. : Case Number: ' Oc' ~ _ ` ' \
Judge: "i . o -U\/ §§ ii [?),
MUI\!H'Y BROWN ~
loney Tm Road
fha-lt H|ll, North Carolina :
D¢fondanb. :
QM£M
COMES NOW Plaintiff, James Graham, Pm se, on behalf of himself and states ns
followa:
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l. The jurisdiction of this court to hear these matters is properly invoked by l’|ain\iff

pursuant to 28 U.S.C. §1331, together with 42 U.S.C. § 1983, negligent hiring and retention. and
intentional infliction of emotional distress Specifically, this is a complaint stating causes ul`
action under 'l`itlc VII of the Civil Rights Act, alleging discriminatory treatment ol‘ Plaintil`l` in his
employment with Defondant on the basis of his race.

2. ` Venue is proper based upon the fact that the Plaintif`f resides and works in
Stlte ofNol'th Caroli.na. Defendant, M\lrphy Brown is a corporation licensed and doing business
in the Stato ofNorth Carolina and the conduct that gives rise to the claims alleged herein

occurred within the State of North Carolina.

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PART S

3. Plaintiff Jarnes Graham began his employment as a Land Technician with
Dcfendant in 2000.

4. At all times relevant herein, the Plaintifi’s supervisors, acting as agents for

Defendant Murphy Brown, were state actors within the meaning of 42 U.S.C. § 1981
MRATILEEPROCEEDINGS

5. Within the time prescribed by law, Plaintiff filed with the Equal limployment
Opport\mity Commission a complaint of discrimination and retaliation against the Det`endnnt
Murphy Brown.

6.` Plaintiff has exhausted his administrative remedies with in that such charges were
subject to a final decision by the Equal Employmem Opponunity Commission,
which found probable cause to believe the acts complained of had occurred
within ninety days of the filing of this Complaint.

F_é§_T_S.

7. Plaintifl` has been employed as a Land Technician since June 2000.

8. Beginning on or about December, 2001 and continuing until May 20, 2004
Plaiotiffwas discriminated against on the basis of his race in the form of being subjected to
repeated instances of racial slurs, as well as being forced to work in an environment that became
increasingly hostile as a result of the same conduct

9. The acts constituting the racial discrimination against Plaintit`t` were perpetrated
by both Plaintift’s co-worlcers and supervisors, among whom included, but was

not limited to, his immediate supervisor Kay Barbee, and co-worker Darrly King

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10. On several occasions, including December of 2003, Plaintiff filed complaints with
the Management of the Plant, as well as the office of Human Resourccs in
addition to registering a number of complaints orally with his immediate
supervisor.

ll. Ultimately on May 20, 2004, Plaintiff was fired without cause and in retaliation
for making complaints concerning the harassment and racial discrimination
occm'ring in the course of his employment

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NDMENT 42 U. .C. 1983

12. The Plaintiff restates, rcalleges, and incorporates by reference the averments set
forth inparagraphs 1 through 12 as iffully set forth herein.

13. All the forgoing conduct herein alleged constitutes violations of the equal
protection clause of the Fourteenth Amendment of the United States Constitution. and 42 U.S.C.
§ 1983. __

l4. Plaintiff has no plain, adequate or complete remedy at law to redress the wrongs
alleged herein and the injunctive relief sought in this action is the only means of securing
complete and adequate relief Plaintiff are now suffering and will continue to suffer irreparable
injury from the Defendant’s discriminatory acts and omissions.

15. These actions and circumstances on the part of Defendant evidence and illustrate

a prevalent, continuous and pervasive pattern of condoning racial discrimination
against the Plaintiff that amounted to a custom, practice and policy of the
Defendant, which in turn has caused, and continues to cause, plaintiff to suffer

humiliation, embarrassment, mental anguish, pain and suffering

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16. Defendant’s actions resulted in their failure to properly investigate and address
Plaintiif’s allegations of racial slurs and harassment and in effect acquiesced to the harassment
and discriminatory conduct The malfeasance and nonfeasance on the part of Plaintifl`s
immediate supervisor, the Department supervisor and the plant management amounted to an
accepted custom, practice and policy of the Defendant.

1`8. As a result, the actions and inactions of the supervisors, who were acting as agents
for the Defcndant, Murphy Brown, amounted to a conscious failure of the actors to protect
Plainti& from intentional conduct, and the abusive condition created by his fellow employees and
supervisors, and demonstrated a deliberate indifference to Plaintiffs federal and state protected
riglns. In fact, in many instances, the racial harassment occurred at the direction of supervisors
and with their express oonsent. The Defendants conduct was so severe that it resulted in the
deprivation of Plaintiff‘s liberties, thereby restricting Plaintiff’s movement in the employment
area.

17. Further, in light of the repeated complaints filed with the P|ant's management.
and die oral reports given to the senior management, Defendant’s senior management were
sufficiently apprised and on notice of the abuse endured by Plaintiff. As such, for those racially
harassing incidents that occurred alter such notice was given demonstrates a failure by
Defendant to protect the Plairrtiff from further abuse. In this regard, the senior management`s
failure to act is evidence of a racially discriminatory and hostile work environment that was
condoned at the level of agents acting under the color of law.

18. Defendant did the acts herein alleged intentionally and with an improper

and evil motive amounting to malice and in conscious disregard of Plaintiff.

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l9. 'I`he Pleintiffs testates, realleges, and incorporates by reference the averments set
forth in paragraphs l through 20 as if fully set forth herein.

20. All the foregoing conduct herein alleged constitutes intentional infliction ol`

21. Plaintiff have no plain, adequate or complete remedy at law to redress the wrongs
alleged herein and the injtmctive relief sought in this action is the only means of securing
complete and adequate relief Plaintiffs are now suffering and will continue to suffer irreparable
injury &om the Defendent’s discriminatory acts and omissions.

22. These actions and circumstances on the part of Defendant evidence and illustrate
intentional or reckless conduct that was extreme and outrageous and beyond all bounds ol`
decency so as to shock the conscience of all reasonable pcople, which was thc proximate and
cause in fact of plaintiffs severe emotional distress, humiliation, embarrassment. mental
enguid\, pain md suffering

23. Defendant did thc acts herein alleged intentionally and with an improper

md evil motive mounting to malice and in conscious disregard of Plaintiff.

§§§LlG§NT SUPE%ILSNILO§AND RETENTION
24. The Plaintiffs restatee, realleges, and incorporates by reference the averments set
forth in pompaphs l through 52 as iffully set forth herein
25. All the foregoing conducts herein alleged constitutes negligent supervison and
retention

26. Plaintih‘ has no plain, adequate or complete remedy at law to redress the wrongs

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alleged herein and the injunctive relief sought in this action is the only means of securing
complete and adequate relief Plaintiff is now suffering and will continue to suffer irreparable
injury from the Defcndant’s discriminatory acts and omissions

27. These actions and circumstances on the part of Det'endant evidence and illustrate

a prevalent, continuous and pervasive pattern of condoning racial discrimination
and harassment against the Plaintiff that amounted to a custom. practice and
policy of the Defendant, which in turn has caused, and continues to cause
plaintiff to suffer humiliation, embarrassment, mental anguish. pain and su lTering.

28. Defendant’s actions resulted in their failure to properly investigate and address
Plainti£’s allegations of racial discrimination and harassment and in effect acquiesced to the
discriminatory conduct The malfeasance and nonfeasance on the part of Plaintii`f`s immediate
supervisor, the Departmcnt supervisor and the plant manager amounted to an accepted custnm.
pnech and policy Of the Defendant. The supervisors Of Defendant failed to take any
meaningful remedial action.

29. As a result, the actions and inactions of the supervisors, who were acting as agents
for the Defendant, amounted to a conscious failure of the Defendant to protect Plaintiff from
intentional conduct, and the abusive condition created by her fellow employees and supervisors.
and demonstrated a deliberate indifference to Plaintiff`s federal and state protected ri ghts. ln
fact, in many instances, the racial discrimination harassment and retaliation occurred at the
direction of supervisors and with their express consent

30. Further, in light of the repeated complaints Eled with the Plant`s management
and the oral reports given to the senior management, Defendant’s senior management were

sumciently apprised and on notice of the abuse endured by Plaintiti`. As such, for those racially

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harassing incidents that occurred after such notice was given demonstrates a failure by
Dt.'.fendant's oi`!`lcials vo protect the Plaintifl" from further abuse. ln this regard the senior
management’s failure to act is evidence of a discriminatory and hostile work environment that
was condoned at the level of Defendant’s agents acting under the color of law.

31. Defendant did the acts herein alleged intentionally and with an improper
and evil motive mounting to malice and in conscious disregard of Plaintiff.
and pervasive pattern of condoning racially discriminatory harassment and retaliation against the
Plaintiffthat amounted to a custom, practice and policy of the Defendant. which were un-
welcomed by Plaintiff and was done with the purpose and effect of creating an intimidating
hostile and offensive work environment

32. Such practices constitute a continuing violation under 42 U.S.C. § 2000e-l

DEMAND EOR RELIEF

WHEREFORE, Plaintiff respectfully demand that this Honorable Court provide l`or
relief a follows:

l. Compensatory damages which Plaintiff, has sustained as a result of the Dcfendants`
illegal discriminatory conduct for emotional distress, humiliation, embarrassment mental
anguish, pain and suffering in the amount of Fifteen Million Dolla.rs (315.000.000.0()).

2. Punitive damages for its willful and malicious violation of Federal and St:tte Civil
Rights laws in the amount of Fiheen Million Dollars (315,000,000.00).

3. A preliminary and permanent injunction against Defendant Murphy Brown its`
supervisors agents, employees, representatives and all other persons acting in concert on behalf
ofthe Defendant, ti'om engaging in the heretofore mentioned unlawful practices patterns

policies and customs

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4. Doclaratory judgments that the practices herein complained of are unlawful and
views of 42 u.s.c. § 1983.

5. All cost included herein, including all reasonable attorney fees, plus prc and pos\
judgth intenst.

6. Such other relief as this Honorable court deems just.

EMQ !:IFF REQUEST 'I`RIAJ.. BY J'Uthr
Rupe¢tl’ully submitted,

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l /;F Jameii. Graham

2655 o¢¢p mm church nom
Deep Run, North Carolina 28525
Pro Se PlaintilT

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